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Fu.€o: FO$/;§>NM}

REGINA M. M¢cREA _ __ 2009 SFP 21. Pn 31 33
OWENS & CRANDN..L. FLLC ' UED

l 859 N. I.akcwood Drive, Suitc 104 ' suMMONS ‘SS

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ISB # 6845

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lN 'I'H.E DISTRICT C,OURT OF THE FIRST HJDICAL DISTRJCT OF ’I'HB STAT'E
OF IDAI~IO. IN AND FOR °IHE COU`N'I`Y OF KOO'l'lI-'.NM

cums'mm mm an individual,
cAsENo.cv- '1 X 8 l
P)asmifr,

v. COWLMNTFGRDAMAGES
HARTFORD LlH-`. AND ACC]DENT FEE CAT.EGOR.Y: A.l.

INSURANCE COMPANY, a foreign .
insurer, FBE: 388.00

DcF:ndant.

 

 

Plaimit}', by and through her anomcy of record. Regina McCrca ofthe firm

Owcns & Crandall, `PLLC, for claims of relief against Dcr‘cndant, alleges as follows;

I. PAR'|'¥ESl JURISDICTION AND !E§g!§

l .1 Plaintift`, Ci-.lRlSTlNA KEL.LY, iS, and at all times material hereto was, an
individual raiding in the Stm¢ of ldaho, K.ootcnai Co\mty.

1.2 Dcfcndanl. HARTFORD LlF`E AND ACCLDENT lNSURANCE COMPANY, is
a foreign insurance company authorized to conduct business in the state ofldaho.

1.3 All acts or omissions alleged hen_:m owned in whole or in part in Kootcnai
Cmmf:y. Idaho.

1.4 Jurisdiction in this conn is proper pursth to l.C, § 1~701 and l.C. § 1-705.

l,§ Venu: is proper in this court according‘to I,C. § 5-404.

¢OMI»LAWOR DAMAGES .1 ASSIGNED TG JUDGE HAYNES

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IL_REL_P_?\_/_;A_Nl!"_A_C_'.I`_S.
Dct`cndant is an insurer as defined by l.C. § 41-103.

Defcndam issued two accidental death policies (identilied as Policy Nos.
ADD9960 and ADD10900) to Bryan .l. Kelly.

'l`hese policies designated the Plaintifl`as Bryan l<elly’s beneficiary

On or about Septcmber l5, 2008, Bryan Kelly took a gunshot to his person while
target shooting in the woods near his rcsidcnee.

P|zu'ntif"|" filed a claim l"or accidental death benelits, which Dei~'enclant denied
Theresher, Plaintiii" requested a review of` that denial. Defendant once again
denied the elaim.

Plaintil`l`has satisfied and met all the conditions, terms and provisions for

coverage and payment of benefits under the respective policies

]II. CAUSE OF AC'I`ION: BREACH OF CONTRACI`
Plaintil"l" reallech and incorporates by reference all preceding allegations

Defendant contracted to provide accidental death benefits in the event of such

loss.
Dei"cndant has breached these obligations by denying Plaintiff’s claim and failing

to pay the benefits due her.

liormal proof of loss has been made to Defendant, but the latter has refused to

tender the amount due Plaintiff.

COMPLAlNT FOR DAMAG__`ES -2

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._ t )

IV. CAUSE OF ACTION: BREACI'I OF GOOD FAI'I'H AN`D FATR DEALING

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Plajntil~`l'realleges and incorporates by reference all preceding allegations
De'l"endant owes a duty under ldaho law to perform its contract in good faith and
to deal fairly with Plaintiff.

Defendant has not acted fairly and in good faith in performing its contract with
Plaintil`l~`, including but not limited to failing (l) to conduct a reasonable
investigation and consider all available information before denying Plaintiff’ s
claim; (2) to provide a reasonable explanation of the basis in the insurance policy
in relation to the l"aets and applicable law for denial of the claim; and (3) failing to
promptly settle this claim when liability has become reasonably clear.

Upon information and belicf, Dcfcndant engages in a pattem of bad faith through
routinely denying legitimate claims and habitually failing to reasonably
investigate claims.

Plaintil”t" is therefore entitled to an award of damages against this Defendant in an

amount to be demonstrated at trial.

V. CAUSE OF ACTION: CONSUN[ER PROTECTION ACT VIOLATIONS

AND DECEPTIVE BUSINESS PRACT!CES
Plaintiff realleges all of the foregoing paragraphs of her Complaint as if set l"orth
in full.
Del'endant committed unfair or deceptive acts in violation o't"_ldaho’s Consumcr
Protection Act by making, issuing, circulating or causing to be ma.de, issucd, or

circulated policies containing illusory coverage

COMPLAlN'l` l*`OR DAMAGES -3

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Det'endant represents its polices as providing accidental death benefits
Defendant denied Plainti't’["'s claim on thc basis that Bryan Kelly’s death was not
thc result ol` an injury independent of all other causes

Sinec death cannot result without a cause, the coverage provided by Def`endant is
illusory. l

Defendant’s misrepresentations of coverage are per se violations of ldaho’s
Consumcr Proteetion Aet.

Del`endant’s actions arc further in violation ofl.C. §41-] 302 and I.C. § 41~\329.
Defendant’s refusal to pay Plaintifl"s claim in accordance with the policies is
intentional and tmreasonable.

Defendant’s intentional and unreasonable denial and delay in payment ol` this
claim is in bad faith.

Plaintiff has been damaged by Det`endant’s acts and omissions in an amount to be

proven at trial.

VI. PRAYER FOR BELIEF
Wl~lEREFORE, Plaintil`l" prays for judgment as follows:

'Ihat Plaintit`l` be awarded a money judgment for damages against Defendant in a
sum to be proved at the time ot`trial, but in excess of $100,000;

That `Plaintiff bc awarded her reasonable attorncy’s fees incurred in the
prosecution ol` this action in at least thc sum 01"$5,000 il" judgment is entered by

default, and for such other and further sums the court finds reasonable in the event

COMPLAlNT FOR DAMAGES -4

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this matter is contested. Plaintit`l` is entitled to reasonable attorney l"ees pursuant
to Idztho Cocic Scctions ]2-120, 12-121, 41-] 839, and Idaho law.
3. That Plaintiffbc awarded its costs and expenses incurred herein, including

prejudgment interest on the accidental death benefits.

4. 'Ihat Pluintiff be awarded such other and Further relief as the court may deem
proper.

5. .Thm Plai.ntiff receive a jury trial on all issues triable as of right by a jury.

6. Plaintifi`reserves the right to amend this Complaint to request an award of

punitive damages in accordance with I.C. § 6-] 604.

DATED this M day of Septernber‘1 2009.

OWENS & CRANDALL, PLLC.

ByWA_
. m M.MC RE ,ISB #6845

Attomeys for Plaintiff

 

COMPLMNT FOR DAMAGES -5

